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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

                             CRIMINAL ACTION NO. 3:10-cr-107-H


 UNITED STATES OF AMERICA                                                               PLAINTIFF

 v.

 SHANION M. THURMAN
 JAMES L. ROBINSON                                                                  DEFENDANTS


                           MEMORANDUM OPINION AND ORDER

        At the close of evidence, the Court granted Defendant Thurman’s motion for a directed

 verdict of acquittal. The following Memorandum Opinion expands somewhat on the reasons

 already in the record.

        To determine whether to grant a directed verdict motion in a criminal trial, a district court

 asks whether a reasonable jury would have a legally sufficient evidentiary basis to find the

 defendant guilty of the crime charged. Federal Rule of Criminal Procedure 29(a) instructs that

 “…after the close of all evidence, the court on the defendant’s motion must enter a judgment of

 acquittal for any offense for which the evidence is insufficient to sustain that conviction.”

        The one-count indictment charged Thurman with violating 18 U.S.C. § 1512(a)(2)(A)

 and 2. In pertinent part, the Grand Jury charged Thurman with having “aided and abetted [co-

 Defendant James Robinson] and others known and unknown…and knowingly use[]…the threat

 of physical force against G.S. with the intent to influence, delay and prevent the testimony of

 G.S. in an official proceeding.” In short, Thurman was alleged to have aided and abetted witness

 tampering, a specific form of obstruction of justice.
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          To prove its case against Thurman, the United States assumed to establish beyond a

 reasonable doubt that Thurman (1) knowingly acted in some way for the purpose of aiding the

 commission of that crime and (2) acted with the intention of causing the crime charged to be

 committed. Sixth Circuit Pattern Jury Instructions. According to the United States’ pretrial

 averments and proof at trial, the predicate acts constituting Thurman’s and co-defendant

 Robinson’s charge was aiding and abetting Ricky Kelly in writing an allegedly threatening letter

 that was delivered to G.S., a witness against Kelly in a federal homicide trial, while G.S. was in

 prison in late May 2010. Hence, the words “that crime” in the instructions refer only to the

 delivery of what the United States alleged was a threat letter to G.S. in prison.

          At trial, the United States established that Thurman, due to her employment at the

 Oldham County Department of Public Advocacy office, had access to a plea agreement entered

 by inmate G.S. indicating G.S.’s intention to testify against Kelly and link him to three murders.

 Further, the evidence established that Thurman delivered a copy of this plea agreement to James

 Robinson, her live-in boyfriend. However, the United States offered no proof that Thurman

 personally knew or was a friend or associate of Ricky Kelly nor that Thurman personally knew

 or was an enemy of G.S.1 No evidence in the record establishes Thurman knew or asked what

 Robinson would do with the information contained in G.S.’s plea agreement, much less that she

 knew or could have known what Kelly would have done once Robinson transferred the

 information to him.




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   The evidence does establish that Thurman had heard of Kelly through her then boyfriend, Robinson. Defendant
 Robinson testified that Thurman knew of only one of his phone calls with Kelly. This phone call occurred in late
 2009 or early 2010, when Robinson took a call from Kelly while Thurman was in the car. Robinson told Thurman
 the caller was Ricky Kelly, a friend. According to defense counsel, the reason Thurman brought home the plea
 agreement in the first place was that she recognized Kelly’s name from that car ride and upon noticing it in G.S.’s
 plea agreement, wanted to ask Robinson “Is this your friend?”

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         While tape-recorded prison calls established that Robinson had many conversations with

 Ricky Kelly between January and May, 2010 (Kelly, like G.S., was an inmate at all times

 relevant to the indictment), no positive evidence established that Thurman knew about the fact or

 content of these particular conversations with Ricky Kelly or that Thurman herself ever spoke

 with or visited Ricky Kelly. The United States offered no evidence that either Thurman or

 Robinson knew about or somehow encouraged Ricky Kelly’s threat of physical force against

 G.S. in a coded letter and or that either helped deliver it to G.S. in jail.

         The instructions require that Thurman had the specific intent to commit the crime

 charged—i.e., tampering with G.S., a federal witness, via threat letter written by Ricky Kelly and

 delivered to G.S. while G.S. was in jail. While the United States emphasized that it was

 Thurman’s leak of the plea agreement that “got the ball rolling,” it provided no proof that

 Thurman had the specific intent to threaten physical force against G.S. The intent necessary to

 support a conviction for aiding and abetting is specific intent. The required intent “goes beyond

 the mere knowledge that the defendant’s action would tend to advance some nefarious purpose

 of the principal [Ricky Kelly].       Rather, the defendant must act with the specific intent of

 facilitating or advancing the principal’s commission of the underlying crime.” U.S. v. Frampton.

 382 F.3d 213, 223 (2d Cir. 2004).

         The Court concluded that it was quite a leap too far for one to infer that Thurman could

 have had any idea that Kelly would organize a plan to threaten physical force against G.S.

 Consequently, the evidence is devoid of an inference that Thurman had the specific intent

 required by the crime charged and the Court directed a verdict of acquittal in her favor.




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            November 21, 2013




 cc:   Counsel of Record




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